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UNITED STATES DISTRICT COURT

FOR THE DISTRICT OF MASSACHUSETTS

In re: NEURONTIN MARKETING AND MDL Docket No. 1629
SALES PRACTICES LITIGATION

Master File No. 04-10981

THIS DOCUMENT RELATES TO:
ALL ACTIONS

Judge Patti B. Saris

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ASSENTED-TO MOTION FOR
LEAVE TO FILE REPLY MEMORANDUM

Defendants, Pfizer Inc., Parke-Davis, a Division of Warner-Lambert Company, and
Warner-Lambert Company, respectfully move the Court, pursuant to Local Rule 7.1(B)(3) and
with Plaintiffs’ assent, for leave to file a reply memorandum in further support of their motion for
the entry of a Protective Order. The grounds for this motion are as follows.

1. On December 21, 2004, Defendants filed a Motion for Entry of a Protective
Order.

2. By the time the motion was filed, the parties had reached agreement on all but two
issues related to the terms of the Protective Order.

3. Plaintiffs filed an opposition (the “Opposition’’) to the motion on January 4, 2005.

4. The Opposition contains, among other things, a proposal with respect to one of
the issues in dispute and arguments as to the other.

5. Defendants have prepared, and respectfully request leave to file, a short reply

memorandum.
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6. The reply memorandum (a) confirms Defendants’ acceptance of Plaintiffs’
proposal with respect to the first issue; (b) responds to Plaintiffs’ arguments as to, and proposes a
solution to, the second issue; and (c) provides, as an exhibit, a further draft of the Protective
Order that reflects the agreement as to the first issue and Defendants’ proposal with respect to the
second.

7. The reply memorandum therefore will assist the Court in its consideration of the
motion.

8. Plaintiffs have assented to this motion.

WHEREFORE, Defendants respectfully request leave to file the accompanying reply
memorandum.

Dated: January 6, 2005 PFIZER INC., et al.,
By their attorneys,
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